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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA


                                        Civil Cover Sheet
This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This form is authorized for use only in the District of Arizona.

        The completed cover sheet must be printed directly to PDF and filed as an
                  attachment to the Complaint or Notice of Removal.

                                                                               U.S. Fish and Wildlife Service ;
                                                                               Debra Haaland , Secretary of
 Plaintiff(s): Center for Biological Diversity                   Defendant(s):
                                                                               the U.S. Department of the
                                                                               Interior
                                                                 County of Residence: Outside the State of
County of Residence: Pima
                                                                 Arizona
County Where Claim For Relief Arose: Outside
the State of Arizona


Plaintiff's Atty(s):                                             Defendant's Atty(s):
Sarah Uhlemann
Center for Biological Diversity
2400 NW 80th Street, #146
Seattle, Washington 98117
206-327-2344


Tanya Sanerib
Center for Biological Diversity
2400 NW 80th Street, #146
Seattle, Washington 98117
206-379-7363


II. Basis of Jurisdiction:            2. U.S. Government Defendant

III. Citizenship of Principal
Parties (Diversity Cases Only)
                       Plaintiff:- N/A
                    Defendant:- N/A
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IV. Origin :                        1. Original Proceeding

V. Nature of Suit:                  893 Environmental Matters

VI.Cause of Action:                 16 U.S.C. § 1533(b)(3); 5 U.S.C. § 706(2). Defendants' decision not
                                    to propose Endangered Species Act listing for seven species is
                                    unlawful.
VII. Requested in Complaint
                 Class Action: No
             Dollar Demand:
                Jury Demand: No

VIII. This case IS RELATED to Case Number 4:21-cv-00251-RCC assigned to Judge Raner C.
Collins.

Signature: s/ Sarah Uhlemann

      Date: 11/19/2021
If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in
your browser and change it. Once correct, save this form as a PDF and include it as an attachment to your case
opening documents.

Revised: 01/2014
